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Case 20-33948 Document

SHARI L. FREIDENRICH, CPA
TREASURER-TAX COLLECTOR
Office of the Treasurer-Tax Collector
County of Orange

P.O. Box 4515

Santa Ana, CA 92702-4515
Telephone: (714) 834-7625
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FILE?

JUL 0 2 2021

Nathan Ochsner, Clerk of Court

UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF TEXAS, HOUSTON

In re:

Debtor(s).

Neiman Marcus Group LTD LLC

Case No.: 20-32519
Chapter: 11

WITHDRAWAL OF PROOF OF CLAIM
FILED BY COUNTY OF ORANGE

[NO HEARING DATE]

TO ALL INTERESTED PERSONS AND THEIR COUNSEL OF RECORD, IF ANY:

The undersigned claimant hereby withdraws that certain proof of claim:

Dated _09/15/2020_ CLAIM# 204 in the amount of $ 2,722.50

Dated this June 29, 2021.

SHARI L. FREIDENRICH
Orange County’Treasyrer-Tax Collector

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Bankruptcy Unit

WITHDRAWAL OF PROOF OF CLAIM

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PROOF OF SERVICE BY MAIL

Iam employed in the County of Orange, State of California. I am over the age of 18 years and not a
party to the within action. My business address is County of Orange P.O. Box 4515, Santa Ana, CA
92702-4515.

DOCUMENT(S) SERVED: Withdrawal of Proof of Claim

On June 29, 2021, I served the documents named above on the parties in this action by placing a
true copy of said document(s) in a sealed envelope in the following manner:

Executed on June 29, 2021 at Santa Ana, California by _

(BY MAIL) I caused each such envelope, with postage fully prepaid, to be placed in the
United States mail at Santa Ana, California. I am readily familiar with this office’s practice
for collecting and processing correspondence for mailing, said practice for collecting and
processing correspondence for mailing, said practice being that in the ordinary course of
business, mail is deposited in the United States Postal Service the same day as it is place for.

(STATE) I declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

NAME AND ADDRESS OF PERSON(S) SERVED:

Attorney for the Debtor Bankruptcy Court

Matthew D Cavenaugh Clerk's Office
Jackson Walker LLP United States Bankruptcy Court
1401 McKinney Street PO Box 61010

Ste 1900 Houston, TX 77208

Houston, TX 77010

WITHDRAWAL OF PROOF OF CLAIM

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